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AO 440 (Rev. 06/12) Summons in a Civil Action




                                                                                                           D
                                                                                  OURT




                         LINDA FRITZ,
                            Plaintiff(s)
                                V.                                   Civil Action No. 3:18-cv-00335




        DIVERSE ADVANCED PORTFOLIOS LLC,
                           Defendant(s)

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Diverse Advanced Portfolios LLC
                                   c/o Janelle Hawkins
                                   29 West Main Street Upper Rear,
                                   Lockport, New York 14094




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Joseph S. Davidson
                                 Sulaiman Law Group, Ltd.
                                 2500 S. Highland Avenue, Suite 200
                                 Lombard, IL 60148
                                 (630) 575-8181


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the couit.


                                                                                           l.
                                                                        CLERK OF c;OtJRT


          5/8/2018                                                                    s/ J. Titak
Date:   ----------
                                                                                .. Signature ofClerk   m· Deputy Clerk
Case: 3:18-cv-00335-jdp Document #: 3 Filed: 05/21/18 Page 2 of 2




                                            RETURN OF SERVICE

                               UNITED STATES DISTRLCT COURT
                                  Western District of Wisconsin
Case Number: 3:18-CV-00335

Plaintiff:
LINDA FRITZ
vs.
Defendant:
DIVERSE ADVANCED PORTFOLIOS LLC

For:
JOSEPH DAVIDSON
SU LAIMAN LAW GROUP, LTD
2500 S. HIGHLAND AVENUE, SUITE 200
LOMBARD. IL 60148

Received by Direct Process Server LLC on the 10th day of May. 2018 at 1:33 pm to be served on DIVERSE
ADVANCED PORTFOLIOS LLC, 29 WEST MAIN STREET UPPER REAR, C/0 JANELLE HAWKINS,
LOCKPORT, NY 14094.

I, Ashley Czarnecki, do hereby affirm that on the 16th day of May, 2018 at 4:02 pm, I:

served a CORPORATION by delivering a true copy of the Summons In A Civil Action ,
Complaint ,Notice Consent and Reference of Civil Action To A Magistrate Judge, to: TIM CASE as
AUTHORIZED PARTY for DIVERSE ADVANCED PORTFOLIOS LLC. at the address of: 29 WEST MAIN
STREET UPPER REAR, LOCKPORT, NY 14094. and informed said person of the contents therein. in
compliance with state statutes

Description of Person Served: Age: 49, Sex: M, Race/Skin Color: BLACK, Height: 6'0, Weight 250. Hair:
BLACK, Glasses: N

I certify that I am over the age of 18, have no interest in the above action. Under penalties of perjury. I
declare pursuant to 28 USC 1746 that I have read the foregoing document and the facts stated are true and


                  5( I le I t '3
correct.

Executed on :
                Date




                                                                          Ashley Czarnecki
                                                                                                   cfs-L.
                                                                          Direct Process Server LLC
                                                                          22 Southern Blvd
                                                                          Suite 103
                                                                          Nesconset, NY 11767
                                                                          (631) 406-6989

                                                                          Our Job Serial Number: DPR-2018001441


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